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Attorneys for The SCO Group, Inc.



                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF UTAH


THE SCO GROUP, INC.                        [PROPOSED] ORDER GRANTING EX
                                              PARTE MOTION FOR LEAVE
       Plaintiff/Counterclaim-Defendant,         TO FILE SCO'S REPLY
                                              MEMORANDUM IN FURTHER
v.                                          SUPPORT OF SCO'S OBJECTIONS
                                             TO THE MAGISTRATE JUDGE'S
INTERNATIONAL BUSINESS                      ORDER DENYING SCO'S MOTION
MACHINES CORPORATION,                           FOR RELIEF FOR IBM'S
                                                     SPOLIATION
       Defendant/Counterclaim-Plaintiff.            OF EVIDENCE


                                               Case No. 2:03CV0294DAK

                                               Honorable Dale A. Kimball
                                             Magistrate Judge Brooke C. Wells
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       This matter comes before the Court on the Ex Parte Motion of Plaintiff/Counterclaim-

Defendant The SCO Group (“SCO”) for Leave to File their over length SCO's Reply

Memorandum In Further Support Of SCO's Objections To The Magistrate Judge's Order

Denying Sco's Motion For Relief For IBM's Spoliation Of Evidence (the “Reply

Memorandum”). The Court, having considered the matter, hereby determines that good cause

and exceptional circumstances exist and hereby ORDERS that SCO be granted leave to file its

over-length Reply Memorandum consisting of 20 pages, exclusive of face sheet, table of

contents and authorities, appendixes and exhibits.

       DATED: _______________________, 2007

                                             BY THE COURT:



                                             ______________________________
                                             Honorable Dale A. Kimball




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                               CERTIFICATE OF SERVICE

       Plaintiff/Counterclaim-Defendant, The SCO Group, Inc., hereby certifies that a true and

correct copy of the foregoing [PROPOSED] ORDER GRANTING EX PARTE MOTION FOR

LEAVE TO FILE SCO'S REPLY MEMORANDUM IN FURTHER SUPPORT OF SCO'S

OBJECTIONS TO THE MAGISTRATE JUDGE'S ORDER DENYING SCO'S MOTION FOR

RELIEF FOR IBM'S SPOLIATION OF EVIDENCE was served on Defendant/Counterclaim-

Plaintiff, International Business Machines Corporation, on this 25th Day of May, 2007, via

CM/ECF and electronic mail (by agreement of the parties) to the following:



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                                By:______/s/Mark F. James__________________




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